                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                     )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )              No: 3:06-CR-73
                                               )              (PHILLIPS/SHIRLEY)
 RONDAL BROCK,                                 )
                                               )
                Defendant.                     )


                                MEMORANDUM AND ORDER

                This matter is before the undersigned pursuant to 28 U.S.C. § 636(b)(1)(A) and by

 the Order [Doc. 103] of the Honorable Thomas W. Phillips, United States District Judge, for

 disposition or report and recommendation regarding disposition by the District Court as may be

 appropriate. Defendant Rondal Brock’s Motion to Suppress [Doc. 87] and Motion for Motion to

 Suppress to be Considered as a Motion in Limine [Doc. 119] are presently pending before this

 Court. The parties came before the Court on June 20, 2007, for a hearing on these motions.

 Assistant United States Attorneys Cynthia Davison and Greg Weddle were present, representing the

 government. Attorney Daniel Warlick was present via telephone, representing Defendant, who was

 not present.

                At the outset of the hearing, the Court traced the relevant procedural history of this

 matter. On May 7, 2007, counsel to Defendant Rondal Brock’s then Co-Defendant, Lawanna Brock,

 and the government engaged in a telephone conference with the undersigned and the Honorable

 District Judge Thomas W. Phillips. This conference occurred on the eve of trial and regarded the

 statements on a recording which are at the core of Defendant Rondal Brock’s motion to suppress,




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 and were also the subject of then Co-Defendant Lawanna’s Brock’s pending Motion in Limine [Doc.

 89]. Neither Defendant Rondal Brock nor his counsel participated in this telephone conference. On

 May 8, 2007, District Judge Phillips entered an Order regarding Defendant Lawanna Brock’s Motion

 in Limine [Doc. 99], which states:

                Accordingly, the Court advised the parties during the telephone
                conference that the recording would not be admissible in whole;
                ordered the government to prepare a transcript and designate only the
                relevant portions of the CD it intended to use for trial; and informed
                the parties that pending motions would be taken up at 8:30 a.m. on
                the morning of the trial.

 After the hearing, the undersigned entered an Order [Doc. 96] granting a Joint Motion to Sever

 Defendant Rondal Brock [Doc. 94]. Defendant Lawanna Brock proceeded to trial on May 14, 2007.

 On May 14, 2007, District Judge Phillips referred Defendant Rondal Brock’s Motion to Suppress

 [Doc. 103] to this Court.

                  At the hearing, both the government and Defendant Rondal Brock’s counsel

 conveyed that they were of the general opinion that District Judge Phillips had ruled on Defendant

 Rondal Brock’s Motion to Suppress [Doc. 103]. However, as noted by the procedural history, it is

 clear that District Judge Phillips did not do so except to the extent noted above. Had District Judge

 Phillips ruled upon Defendant’s motion in its entirety, he would not have subsequently referred the

 motion to this Court. After tracing the procedural history and querying both parties about what

 Judge Phillips’s earlier ruling established, all parties appeared to concede that it had not been fully

 ruled upon earlier. Therefore, this matter is properly before this Court for determination.

                Before proceeding further, this Court must rule upon Defendant’s Motion for Motion

 to Suppress to be Considered as a Motion in Limine [Doc. 119]. At the hearing, all parties stated

 they were satisfied that Defendant’s Motion to Suppress [Doc. 87] was not actually a motion to

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 suppress, but would be more aptly titled, and treated as, a motion in limine. For good cause shown,

 Defendant’s Motion for Motion to Suppress to be Considered as a Motion in Limine [Doc. 119] is

 GRANTED. Accordingly, Defendant’s Motion to Suppress will be referred to as Defendant’s

 Motion in Limine for the remainder of this Order.

                Defendant motion asks the Court to prohibit admission of two telephone

 conversations between Lawanna Brock and Geneva Renee Gent. [Doc. 87]. In support thereof,

 Defendant asserts that he was not a participant in the telephone conversations, and that the

 statements are highly prejudicial and inflammatory, irrelevant to the allegation charged against

 Defendant, and their introduction into evidence should be prohibited pursuant to Federal Rule of

 Evidence 403. Defendant notes the government’s position, that Defendant signed a letter, which

 resulted in his adopting the statements as his own. Defendant then asserts that the facts do not

 support admitting the conversations under a hearsay exception for admissions against interest. The

 government never filed a response to Defendant Brock’s Motion in Limine.

                At the June 20th hearing, Defendant argued consistent with his pleadings. The

 government argued that the redacted portions of the conversations which District Judge Phillips

 ultimately ruled admissible against Lawanna Brock (during her trial) should also be admissible

 against Defendant. [See Doc. 108]. In support thereof, the government asserted that the taped

 conversations were adoptive admissions of Defendant.

                The Court questioned the government about its position. The purported adoptive

 admission revolves around the fact that Defendant signed a cover letter to a police department which

 accompanied the recording of the two conversations. This letter alleged that Geneva Renee Gent

 had engaged in illegal conduct and encouraged the police department to investigate the matter. The


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 cover letter’s alleged reference to the recording is “[t]his evidence is in the custody of the NTPD

 officer Mewhenney[,] and KPD [(Knoxville Police Department)] has an arrest file.”               The

 government asserted that evidence was introduced during Lawanna Brock’s trial that the recording

 accompanied the letter mailed to the police department. The government argued that the above

 statement, along with Defendant’s signature, indicates that he adopted whatever was on the tape as

 true. Defendant’s counsel countered by arguing that Defendant’s signature on the letter does not

 indicate, in any way, that he listened to the recordings and adopted the statements made therein.

                 This Court previously listened to the recordings at issue during the May 7th hearing.

 As correctly noted by Defendant’s counsel, neither Lawanna Brock nor Geneva Renee Gent

 explicitly state that Defendant engaged in the illegal activity at issue. Admittedly, Lawanna Brock

 makes statements which can be construed as inculpating Defendant; she says “we” and/or “they”

 have “taken care of” prescription forging issues in the past. The government asserts this indicates

 a common scheme to defraud. Defendant asserts no evidence exists that “we” and/or “they” refers

 to Lawanna Brock and Defendant. Moreover, Defendant notes that he has not been charged with

 conspiracy to commit fraud or forging prescriptions; he has been charged with one count of

                 [C]ausing to be made and used, a materially false writing and
                 document knowing the same to contain a false, fictitious and
                 fraudulent statement and entry, in that he caused a claim to be
                 submitted to Cigna, a Medicare Fiscal Intermediary, for lab work for
                 patient B.W., an individual insured under the Medicare insurance
                 program when, in fact, the lab work was for blood of another patient
                 not insured by the Medicare insurance program.

 [Doc. 23]. Upon further questioning from the Court, the government asserted that the evidence was

 admissible against Defendant under the hearsay exception listed as Federal Rule of Evidence

 801(d)(2)(B).


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                Rule 801(d)(2)(B) provides that a statement is not hearsay if it is offered against a

 party and is “a statement of which the party has manifested an adoption or belief in its truth.” The

 Sixth Circuit requires that when a statement is offered as an adoptive admission, “[t]he primary

 inquiry is whether the statement was such that, under the circumstances, an innocent defendant

 would normally be induced to respond, and whether there are sufficient foundational facts from

 which the jury could infer that the defendant heard, understood, and acquiesced in the statement.”

 United States v. Jinadu, 98 F.3d 239, 244 (6th Cir. 1996); Neuman v. Rivers, 125 F.3d 315, 320 (6th

 Cir. 1997) (citing to and relying on Jinadu). Therefore, to be admissible as an adoptive admission,

 there must sufficient facts from which the jury can infer that Defendant heard, understood, or

 acquiesced to the statements made in the recording. Though Defendant clearly adopted the

 statements in the letter which accompanied the recording to the police department, this Court finds

 that he did not manifest an adoption or belief in the truth of the statements within the tape. There

 is not a scintilla of evidence that Rondal Brock even knew a recording, containing potentially

 inculpatory statements about him, was being sent with this letter.1 Further, there is no evidence from

 which a jury could infer that Defendant heard, understood, or acquiesced in the statements made in

 the recordings. As such, this Court cannot find that Defendant manifested an adoption in the belief

 or truth of the statements, and the statements cannot be admitted into evidence as an adoptive

 admission.

                Additionally, the Court finds that, even if the statements at issue were adopted by

 Defendant as admissions, the evidence would continue to be inadmissible. All relevant evidence


        1
         As noted earlier, the letter only stated “[t]his evidence is in the custody of the NTPD
 officer Mewhenney[,] and KPD has an arrest file.” Moreover, the letter contains no explicit
 reference to enclosures or a recording being sent with the letter.

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 is generally admissible. Fed. R. Evid. 402. However, “although relevant, evidence may be excluded

 if its probative value is substantially outweighed by the danger of unfair prejudice, confusion of the

 issues, or misleading the jury. . . .” Fed. R. Evid. 403. The statements made in the recordings

 cannot be admitted because of the high possibility of confusion of the issues, misleading the jury,

 or unfair prejudice. Defendant has been charged with falsifying a medical record to get paid for lab

 work.   [Doc. 23].     Whether Defendant previously engaged in a scheme regarding forged

 prescriptions is not particularly germane to the instant charge, but it is likely to lead to juror

 confusion and may prove to be highly prejudicial. As such, even if the hearsay exception noted by

 the government did allow for this evidence to be admitted, it would still be inadmissible under the

 relevancy doctrine.

                Accordingly, Defendant Rondal Brock’s Motion for Motion to Suppress to be

 considered as a Motion in Limine [Doc. 119] is GRANTED, and his Motion in Limine [Doc. 87]

 is GRANTED.

                IT IS SO ORDERED.

                                                       ENTER:


                                                         s/ C. Clifford Shirley, Jr.
                                                       United States Magistrate Judge




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